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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN MOORE,                                                :
                                                           :
                                    Petitioner,            :             CIVIL ACTION NO. 22-2574
                                                           :
         v.                                                :
                                                           :
JAMIE SORBER, THE DISTRICT                                 :
ATTORNEY OF THE COUNTY OF                                  :
PHILADELPHIA, and THE ATTORNEY                             :
GENERAL OF THE STATE OF                                    :
PENNSYLVANIA,                                              :
                                                           :
                                    Respondents.           :

                                                      ORDER

         AND NOW, this 25th day of July, 2022, after considering the unopposed motion to stay

filed by the petitioner, John Moore (“Moore”) (Doc. No. 4), it is hereby ORDERED as follows:

         1.       The motion to stay this action (Doc. No. 4) is GRANTED, and this matter is

STAYED to allow Moore to exhaust his state court remedies; 1


1
 On May 9, 2000, the Philadelphia Court of Common Pleas sentenced Moore to life imprisonment for second degree
murder, possession of an instrument of a crime, criminal conspiracy, and robbery. See Pet. Under 28 U.S.C. § 2254
for Writ of Habeas Corpus by a Person in State Custody (“Pet.”) at ECF p. 5, Doc. No. 2; Docket, Commonwealth v.
Moore,      No.      CP-51-CR-201061-1998        (Philadelphia     Cnty.     Ct.    Com.       Pl.),   available     at:
https://ujsportal.pacourts.us/Report/CpDocketSheet?docketNumber=CP-51-CR-0201061-1998&dnh=w%2BWsudO
eBaAyma4QXmp%2FdA%3D%3D (“Com. Pl. Docket”). Recently, on April 20, 2022, Moore filed a petition under
Pennsylvania’s Post-Conviction Relief Act, 42 Pa. C.S. §§ 9541–9546, (“PCRA”). See Pet. at ECF p. 2; Com. Pl.
Docket at 10. On July 1, 2022, Moore filed the instant habeas petition, after receiving permission from the Third
Circuit Court of Appeals to file a second or successive habeas petition. See Doc. Nos. 1, 2. In the habeas petition,
Moore raises claims relating to alleged due process violations based on suppression of evidence and new evidence
supporting innocence. See Pet. at ECF pp. 9–12.
          Presently before the court is Moore’s motion to stay, which he filed on July 21, 2022. See Doc. No. 4. In the
motion, Moore represents that the respondents do not oppose his request to stay this action. See Unopposed Mot. to
Stay at ¶ 12, Doc. No. 4.
          Even though the instant motion is uncontested, the court notes that while district courts may stay and abey a
habeas petition, the Supreme Court has cautioned against liberal use of the stay and abey procedure because:

         [s]taying a federal habeas petition frustrates AEDPA’s objective of encouraging finality by allowing
         a petitioner to delay the resolution of the federal proceedings. It also undermines AEDPA’s goal of
         streamlining federal habeas proceedings by decreasing a petitioner’s incentive to exhaust all his
         claims in state court prior to filing his federal petition.
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         2.       Moore is DIRECTED to NOTIFY this court within thirty (30) days after the state

court resolves his PCRA petition and request that the court vacate the current stay; and

         3.        The clerk of court is DIRECTED to PLACE this matter in civil suspense pending

further order of court.


                                                                 BY THE COURT:



                                                                 /s/ Edward G. Smith
                                                                 EDWARD G. SMITH, J.




Rhines v. Weber, 544 U.S. 269, 277 (2005). Thus, to justify a stay, a habeas petitioner must satisfy three requirements:
(1) good cause for the failure to exhaust; (2) the unexhausted claims are potentially meritorious; and (3) the petitioner
must not have engaged in intentionally dilatory litigation tactics. Heleva v. Brooks, 581 F.3d 187, 190, 192 (citing
Rhines, 544 U.S. at 278).
          In addition, “while it usually is within a district court’s discretion to determine whether to stay or dismiss a
mixed petition, staying the petition is the only appropriate course of action where an outright dismissal could
jeopardize the timeliness of a collateral attack.” Crews v. Horn, 360 F.3d 146, 152 (3d Cir. 2004) (citations and internal
quotation marks omitted). As such, “[a] key pre-requisite to the granting of a stay under the standard of Rhines is that
there be a real danger the petitioner would, after dismissal without prejudice of the federal habeas action, be time-
barred upon his return to federal court after the state proceedings are no longer pending.” Osburne v. Kerestes, No.
15-cv-6493, 2016 WL 2954162, at *4 (E.D. Pa. Mar. 31, 2016), report and recommendation adopted, 2016 WL
2939520 (E.D. Pa. May 19, 2016).
          Here, Moore seeks a stay in his habeas action because his state post-conviction proceedings are unresolved,
meaning he has not exhausted his state court remedies and federal habeas review would be premature. Mot. to Stay
the 2254 Fed. Habeas Corpus Pet. (“Mot. to Stay”) at 2, Doc. No. 4. He was compelled to seek federal court protection
“before exhausting state court remedies because his failure to do so could forever bar him from obtaining federal
habeas review of the claims he is currently litigating in state court.” Id.
          As to the first Rhines factor, the court finds that dismissing Moore’s petition could jeopardize his right to
seek federal review after his state court remedies have been exhausted, satisfying the good cause requirement for the
court to grant a motion to stay.
          With regards to the second Rhines factor, the potential merit of any of Moore’s claims, the court cannot say
at this early stage that they are not potentially meritorious. Concerning the final Rhines factor, it appears Moore has
not engaged in intentionally dilatory litigation tactics.
          Accordingly, as Moore satisfies all the Rhines factors for a stay, the court grants the motion to stay and will
stay this case pending the exhaustion of state court remedies. Once the court vacates the stay, the court will refer this
matter for a report and recommendation by a United States Magistrate Judge.


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